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                                                                Form 1B

                           Notice of Appeal to a Court of Appeals From an
                                Appealable Order of a District Court

                            United States District Court for the __________
                                                                  Western
                                        District of __________
                                                    Michigan
                                     Docket Number __________
                                                       1:20-cv-1141




                  Enbridge Energy Limited Partnership, et al.


                                              , Plaintiff
                      v.                                                  Notice of Appeal
                  Gretchen Whitmer, et al.
                                          , Defendant

                  _________________
                  All defendants           (name all parties taking the appeal)
                  appeal to the United States Court of Appeals for the
                  ________
                  Sixth       Circuit from the order ___________
                                                      denying motion (describe the
                  order) entered on ________
                                       7/5/24     (state the date the order was
                  entered).


                                             (s) _________________________________
                                                 Daniel P. Bock
                                                 Attorney for _______________________
                                                                Defendants-Appellants
                                                Address: __________________________
                                                           P.O. Box 30755, Lansing, MI 48909


                  [Note to inmate filers: If you are an inmate confined in an
                  institution and you seek the timing benefit of Fed. R. App. P.
                  4(c)(1), complete Form 7 (Declaration of Inmate Filing) and
                  file that declaration with this Notice of Appeal.]




                  
                      See Rule 3(c) for permissible ways of identifying appellants.
